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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 COMMONWEALTH OF PENNSYLVANIA
 and STATE OF NEW JERSEY,

        Plaintiffs,

        v.                                             No. 17-CV-4540-WB

 JOSEPH R. BIDEN, in his official capacity as
 President of the United States; XAVIER
 BECERRA, in his official capacity as Secretary
 of Health and Human Services; UNITED
 STATES DEPARTMENT OF HEALTH AND
 HUMAN SERVICES; JANET L. YELLEN, in                   INTERVENOR-DEFENDANT’S
 her official capacity as Secretary of the Treasury;   NOTICE OF SUPPLEMENTAL
 UNITED STATES DEPARTMENT OF THE                       AUTHORITY
 TREASURY; MARTIN J. WALSH, in his
 official capacity as Secretary of Labor; and
 UNITED STATES DEPARTMENT OF
 LABOR,

        Defendants,

 LITTLE SISTERS OF THE POOR SAINTS
 PETER AND PAUL HOME,

        Intervenor-Defendant.



   The Little Sisters of the Poor Saints Peter and Paul Home (Little Sisters) submit this notice of

supplemental authority as relevant to the pending motions for summary judgment (ECF 252, 254,

255) which are being held in abeyance while the case is stayed until July 30, with the federal

defendants due to file a status report on or before that date (ECF 275).

   On June 17, in Fulton v. City of Philadelphia, the U.S. Supreme Court unanimously held that

Philadelphia violated the Free Exercise Clause by excluding a Catholic foster care agency from

the City’s foster care system because of the agency’s sincere religious beliefs. 141 S. Ct. 1868

(2021). Like Tandon (ECF 272) a few months ago, Fulton confirms Free Exercise principles that,

applied here, require judgment in favor of the Little Sisters. Simply put, this Court cannot




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constitutionally provide the relief sought by the States. Fulton further confirms that there is no

reason for further delay in this case.

    In Fulton, Philadelphia ended its contract with Catholic Social Services (CSS) because CSS

could not certify unmarried or same-sex couples for foster care because it believes that certification

would require “an endorsement of their relationships.” 141 S. Ct. at 1875. The Supreme Court held

that the City’s policy was not neutral and generally applicable under Employment Division v.

Smith, could not satisfy strict scrutiny, and therefore violated the First Amendment. The decision

is applicable here in several ways.

    First, the Court held that “it is plain that the City’s actions have burdened CSS’s religious

exercise by putting it to the choice of curtailing is mission or approving relationships inconsistent

with its beliefs.” Id. at 1876. Despite Philadelphia’s argument that certifying foster couples is not

an “endorse[ment] of” same-sex relationships, the Court said the operative fact is that “CSS

believes that certification is tantamount to endorsement.” Id. Thus, the operative question is not

what the government believes is permissible, but how the religious claimants sincerely understand

their religious teaching. The Little Sisters “believe[] that” complying with the Mandate “is

tantamount to endorsement”—in other words, it would make them complicit in sin. Fulton, 141 S.

Ct. at 1876; see ECF 255-1 at 22-23. 1 And the Little Sisters’ religious beliefs need not be
“comprehensible to others in order to merit First Amendment protection.” Fulton, 141 S. Ct. at

1876 (quoting Thomas v. Rev. Bd. of Ind. Emp. Sec. Div., 450 U.S. 707, 714 (1981)).
    Second, the Court explained that a law “lacks general applicability if it prohibits religious

conduct while permitting secular conduct that undermines the government’s asserted interests in a

similar way.” Id. at 1877. As in Tandon, the Court clarified that such “underinclusiveness mean[s]

that” a law is “not generally applicable” under Smith. Id. Here, the Affordable Care Act suffers

from the same problem, because it grants many secular employers an exemption denied the Little


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    The Free Exercise Clause does not require that the burden on religious belief be “substantial”
in order to be actionable. Fulton, 141 S. Ct. at 1876 (not using the word “substantial”). But the
burden is clearly substantial both here and in Fulton. In Fulton, it was losing CSS’s government
contract and CSS’s ability to conduct its ministry. Here, it is millions of dollars in fines. ECF 255-
1 at 22-23.


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Sisters. ECF 255-1 at 3, 29 (discussing exemptions for, e.g., small businesses, grandfathered plans,

and churches). This “system of exceptions . . . undermines the . . . contention that [the Mandate’s

interests] can brook no departures.” Fulton, 141 S. Ct. at 1882. The Mandate therefore triggers

strict scrutiny and, as explained below, also fails it. After Fulton, neither the federal defendants,

nor the States, nor this Court can implement such a system without violating the Constitution.

   Nor does it matter whether the government claims it is “managing its internal operations,” Id.

at 1878, in compelling the Little Sisters to comply with the underlying Mandate, as the federal

government has argued in prior Mandate litigation, Respondents’ Br. at 26, Zubik v. Burwell, 136

S. Ct. 1557 (2016) (No. 14-1418), https://becketpdf.s3.amazonaws.com/LSP-Government-
Brief.pdf (“an adherent may not use a religious objection to dictate the government’s conduct of

its internal affairs”). Philadelphia made this argument in Fulton, and was rebuffed by the Court,

which noted that “[w]e have never suggested that the government may discriminate against

religion when acting in its managerial role.” 141 S. Ct. at 1878. So too here. The government may

not discriminate against the Little Sisters’ religious beliefs while exempting secular employers for

the sake of convenience.

   Finally, the Court in Fulton reiterated that in defending a law under strict scrutiny, “so long as

the government can achieve its interests in a manner that does not burden religion, it must do so.”

141 S. Ct. at 1881. In previous Mandate litigation, the federal government described a number of

options that allowed it to meet its interests other than by requiring compliance with the Mandate:
employees’ opportunity to “obtain coverage through a family member’s employer, through an

individual insurance policy purchased on an Exchange or directly from an insurer, or through

Medicaid or another government program” and thus obtain “contraceptive coverage.”

Respondents’ Br. at 65, Zubik, 136 S. Ct. 1557 (No. 14-1418). Because the government has

admitted that it has the ability to meet its interests through those mitigation options, “it must do

so.” Fulton, 141 S. Ct. at 1881. Imposing the Mandate on religious believers cannot survive Free

Exercise review.

   For these reasons, in light of Fulton and Tandon, two things are clear. First, the federal

government had no choice but to provide the Little Sisters with an exemption—the Free Exercise


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Clause required it, as did RFRA. Second, there is simply no relief that this Court can grant that

would redress the States’ claimed injury. Where the religious exemption to which the States object

is required by RFRA and the Free Exercise Clause, no court could purport to address any potential

harm arising from it without running afoul of the Constitution.

   Nor is there any need to give the federal government yet more time before entering this relief.

The rules at issue here have been in place since October 2017 and were upheld by the Supreme

Court twelve months ago. If the federal government ever wants to change the rule, it can begin the

administrative process to do so. But this litigation, over this rule, should now end. Accordingly,

the Court should grant summary judgment to the defendants.




Dated: July 6, 2021                          Respectfully submitted,
                                             /s/ Mark Rienzi
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                                CERTIFICATE OF SERVICE


   I hereby certify that a copy of the foregoing document was electronically filed with the Clerk

of the Court for the United States District Court for the Eastern District of Pennsylvania using the

CM/ECF system, and that service will be effectuated through the CM/ECF system.

Dated: July 6, 2021
                                              /s/ Mark Rienzi
                                              Mark Rienzi




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